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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF SOUTH CAROLINA
                               COLUMBIA DIVISION

Frank Heindel and Phil Leventis,             )        Civil Action No.: 3:18-cv-01887-JMC
                                             )
                                             )
                      Plaintiffs,            )
                                             )
              v.                             )
                                             )             ORDER AND OPINION
Marci Andino, Executive Director of the      )
South Carolina State Election Commission,    )
in her official capacity; Billy Way, Jr.,    )
Chair of the South Carolina State Election   )
Commission, in his official capacity; Mark   )
A. Benson, Marilyn Bowers, and Nicole        )
Spain Wright, Members of the South           )
Carolina State Election Commission, in       )
their official capacity,                     )
                                             )
                  Defendants.                )
___________________________________          )

       Before the court for review is a Motion for Summary Judgment 1 (ECF No. 5) by

Defendants Marci Andino, Executive Director of the South Carolina State Election Commission

(“SCSEC”); Billy Way, Jr., Chair of the SCSEC; and Mark A. Benson, Marilyn Bowers, and

Nicole Spain Wright, Members of the SCSEC (collectively “Defendants” or “SCSEC”).

Defendants move the court to dismiss Plaintiffs Frank Heindel and Phil Leventis’ (collectively

“Plaintiffs”) declaratory judgment action for lack of standing. For the reasons that follow, the

court GRANTS Defendants’ Motion.



1
  Although Defendants’ Motion is titled “Motion for Summary Judgment,” they request both
summary judgment under Federal Rule of Civil Procedure 56 and dismissal under Rules 12(b)(1)
and 12(b)(6) of the Federal Rules of Civil Procedure. (ECF No. 5 at 1.) In their Response to
Defendants’ Motion, Plaintiffs argue that Defendants did not meet the requirements necessary for
summary judgment. (ECF No. 14 at 38.) At a hearing on Defendants’ Motion, Defendants
expressed to the court that they only sought dismissal. (ECF No. 49 at 13:14–18.) Accordingly,
the court construes Defendants’ Motion only as a motion to dismiss.
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                    I.    FACTUAL AND PROCEDURAL BACKGROUND

         Plaintiffs are “South Carolina voters seeking to vindicate their right to participate

effectively in the state’s elections.” (ECF No. 1 at 3 ¶ 7.) On July 10, 2018, Plaintiffs filed a

Complaint for Declaratory and Injunctive Relief, claiming that “the capacity of [South Carolina]’s

election system to record and count votes reliably is deeply compromised by the state’s” use of the

iVotronic Direct Recording Electronic (DRE) system. (Id. at 2 ¶ 2.) After a Request for Proposal

(“RFP”) 2 in 2003, the SCSEC obtained 11,000 iVotronic voting machines from Electronic

Systems & Software (“ES&S”) for $35 million dollars. (Id. at 7–8 ¶¶ 22–23.) By 2006, the

machines were in use statewide. (Id. at 8 ¶ 23.)

         In their Complaint, Plaintiffs explain how the iVotronic DRE voting machines work:

               The iVotronic system consists of several components.            The physical
         components—its “hardware”—include the following:

             •   Voting terminals, which are computer systems that include touchscreens
                 where users indicate their votes;
             •   Personalized Electronic Ballots (“PEBs”), which are plastic cartridges
                 housing infrared scanners that poll workers insert into the machines to open
                 (or activate) the machines at the beginning of voting, close (or deactivate)
                 the machines at the end of voting, make the correct ballot appear for each
                 voter, and collect votes stored on the machine; and
             •   Compact flash cards that store image files and an event log . . . from each
                 machine. . . .

             The system also includes two software systems. The main one is iVotronic
         firmware—permanent software programmed into read-only memory—that directs
         the recording and tabulating of votes within the machines. The firmware creates
2
    The South Carolina Code defines a “Request for Proposal” as

         a written or published solicitation issued by an authorized procurement officer for
         proposals to provide supplies, services, information technology, or construction
         which ordinarily result in the award of the contract to the responsible bidder making
         the proposal determined to be most advantageous to the State. The award of the
         contract must be made on the basis of evaluation factors that must be stated in the
         RFP.

S.C. Code Ann. § 11-35-310(28) (West 2019).
                                                   2
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 the screen each voter sees as she scrolls through her electronic ballot. All of South
 Carolina’s iVotronic machines utilize iVotronic firmware version 9.1.6.2, which
 the [SC]SEC certified in August 2006.

        A second software system, Unity, works in conjunction with the machines’
 iVotronic firmware. Unity, an interconnected set of Windows-based software
 applications, runs on the counties’ and [SC]SEC’s server systems to translate the
 data captured via the iVotronic firmware into election results by county as well as
 statewide.

        The process of voting on the iVotronic system is entirely digital. The user
 stands at the terminal, which presents the user’s choices for each race or ballot
 question on a touchscreen; the user then votes by pressing the touchscreen to select
 and submit her choice. At no point in the process does the user create or receive a
 paper record reflecting her vote.

         On Election Day, counties supply each precinct with one “red stripe” (also
 referred to as “master” or “supervisor”) PEB and several “green stripe” (also
 referred to as “voter” or “ordinary”) PEBs. Poll workers use the master PEB to
 open each terminal at the beginning of the day and close the terminals once voting
 ends. When closing voter terminals, the master PEB downloads and stores the vote
 totals collected over the course of the day in each machine. Poll workers then
 transport the master PEBs back to county elections headquarters, where officials
 transfer the results from the master PEBs to the Election Report Manager, a
 software system that tallies county-wide vote totals.

         The “voter” PEBs serve a different role. Each time a voter checks in to
 vote, a poll manager uses a voter PEB to activate a terminal for that voter’s use.
 The voter PEB prompts the terminal to show the proper ballot on the touchscreen
 and allows the user to vote once.

          Each voter terminal also houses a compact flash card. The flash card is a
 removable electronic storage device, like a thumb drive or USB. Over the course
 of Election Day, the flash card stores “vote image files,” digital records of ballots
 cast on that machine, and the selections made during completion of that ballot. The
 flash card also stores an event log showing what operations voters and poll workers
 caused the machine to execute over the course of the day. Operations include
 opening the machine, selecting a candidate, changing a selection, submitting a
 ballot, and closing the machine at the end of voting.

         At county elections headquarters and the [SC]SEC, election officials
 employ the Unity system to create and manage election databases, design ballots,
 program the PEBs, and tabulate election results. The [SC]SEC certified Unity
 version 3.0.1.1 in August 2006. In 2014, the [SC]SEC certified Unity version
 3.4.1.1. In 2017, it certified Unity version 4.0.0.3v4.



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(Id. at 8–10 ¶¶ 24–31.) 3

       Plaintiffs allege that, “The iVotronic system is plagued with vulnerabilities that

undermine its reliability and open numerous pathways for potential hacking.” (Id. at 12 ¶ 38.)

In support of their claim, Plaintiffs cite several reports that studied the same iVotronic voting

machines and software in use in South Carolina. The first is a 2007 report commissioned by the

Ohio Secretary of State entitled, “EVEREST: Evaluation and Validation of Electronic-Related

Equipment, Standards and Testing.” 4 (Id. at 13 ¶ 39.) The EVEREST Report concluded that the

iVotronic system

       lack[s] the fundamental technical controls necessary to guarantee a trustworthy
       election under operational conditions. Exploitable vulnerabilities allow even
       persons with limited access—voters and precinct poll workers—to compromise
       voting machines and precinct results, and, in some cases, to inject and spread
       software viruses into the central election management system.

(Id. at ¶ 40 (quoting EVEREST Report at 29).) Plaintiffs further allege that, “The architecture of

the iVotronic system creates numerous inroads for potential hackers,” and the fact that the

machines are not connected to the Internet does not insulate the system from attacks. (Id. at 16 ¶

50 (citing EVEREST Report at 57).) For example, Plaintiffs assert that the PEBs, which are used

to open and close the voting system, can transfer viruses to the iVotronic machines and to the

central server with widespread and potentially undetectable consequences for the entire county’s

election process. (Id.) Plaintiffs argue that the security flaws identified by the EVEREST Report




3
  Defendants do not contest Plaintiffs’ description of how the iVotronic machines operate. (ECF
No. 5-1 at 11.)
4
  Pennsylvania State University, the University of Pennsylvania, WebWise Security, Inc.,
EVEREST: Evaluation and Validation of Election-Related Equipment, Standards, and Testing
(2007), https://www.eac.gov/file.aspx?D=pMbpd0z%2ffZc9yPf0v4FiM9f1TnszrIZM3FFSh9Gs
RLc%3d&A=AEsRG0%2bi8ImfT5LUBo4RN5dL8n3Npumes67vloL1mxI%3d [hereinafter
“EVEREST Report”].


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are not just theoretical because the EVEREST researchers performed several simulated attacks. 5

(Id. at 17 ¶ 52.)

        In addition to the EVEREST Report, Plaintiffs cite a report commissioned by the South

Carolina General Assembly (“General Assembly”) to review the iVotronic system. (Id. at 19 ¶

58.) In March 2013, the General Assembly’s Legislative Audit Council (“LAC”) published “A

Review of Voting Machines in South Carolina,” a study commissioned by the South Carolina

Senate’s President Pro Tempore. 6 (Id.) In addition to various “Election Day mishaps” associated

with the iVotronic system, the 2013 LAC Report catalogued studies revealing the iVotronic’s

“deep and systematic vulnerabilities, including the EVEREST . . . report[].” (Id.)

        In 2015, the General Assembly passed legislation establishing a “Joint Voting System

Research Committee.” (Id. at 19–20 ¶ 59.) This Joint Committee found “[a] new voting system

must include some type of audit function, or ‘paper trail,’ that would allow the voter to confirm

his or her ballot, as it will be tabulated by the [SC]SEC.” (Id. at 20 at ¶ 59 (quoting 2013 LAC

Report at 6).) The Joint Committee also held two public hearings in preparing its report. (Id. at ¶




5
 Plaintiffs also cite a 2017 report produced by computer security researchers at the annual
DEFCON Hacking Conference. (ECF No. 1 at 21 ¶ 63.) According to Plaintiffs,

        Participants [at the DEFCON conference] had access to several electronic voting
        systems and searched for security breaches they could exploit. The equipment
        present at the DEFCON conference was available legally from secondary market
        sources, such as eBay, and participants did not receive access to source code. In
        other words, the participants faced constraints that might not apply to actual
        hackers, who could potentially obtain a broader array of machinery or source code.
        Among the machines included in the Voting Machine Hacking Village was the
        iVotronic voting machine and its associated PEB devices.

(Id.)
6
  South Carolina General Assembly Legislative Audit Council, A Review of Voting Machines in
South Carolina (2013), https://www.scvotes.org/files/A%20Review%20of%20Voting%20Machi
nes%20in%20SC%20%28Full%29.pdf [hereinafter “2013 LAC Report”].
                                                5
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60.) At the second hearing, Defendant Andino submitted testimony that South Carolina’s current

voting system has a life expectancy of twelve to fifteen years, and is approaching “end of life.”

(Id. at ¶ 61 (quoting 2013 LAC Report at 9).) Defendant Andino also reported that ES&S, the

state’s iVotronic machine vendor, informed the [SC]SEC that securing replacement parts “will

become a problem at some time in the future.” (Id.) Moreover, Plaintiffs assert that “ES&S no

longer manufactures the outdated iVotronic machines.” (Id.)

       Plaintiffs further allege that the iVotronic “machines have failed in ways that impede

voting,” including:

       (1) a 2005 election in which machines in Myrtle Beach repeatedly malfunctioned
       and caused the supply of emergency paper ballots to be “running out”; (2) a 2005
       city council primary race in Columbia which initially showed 3,208 total votes, but
       in which a manual recount revealed only 768 actual votes; and (3) a 2012 Richland
       County election in which widespread machine breakdowns caused massive delays,
       leaving voters waiting in line to vote as late as 11:30 p.m. [2013] LAC Report at
       13. And in April 2018, twelve voting machines being used in a Goose Creek
       municipal election broke down with an unresolvable error.

(Id. at 22–23 ¶ 68.) Additionally, Plaintiffs allege that during the June 2018 primary elections,

       voting machines malfunctioned across the state, causing lines at the polls and
       delaying election results. In Greenville County, 33 voting machines at four
       precincts stopped working. As a result, lines to vote exceeded an hour in at least
       one Greenville County precinct. This mass mechanical failure delayed the
       reporting of results and required poll workers to call in an ES&S technician to
       review the machines’ backup storage devices. The ES&S employee, rather than
       South Carolina poll workers, retrieved votes from the affected machines. Voting
       machines also broke in Horry, Marlboro, and Florence Counties. Even when the
       machines did not breakdown entirely, election officials acknowledged that aging
       touchscreens made it more difficult for voters to make their selections.

(Id. at 24–25 ¶ 74.)

       Plaintiffs also assert that “the [SC]SEC has been aware of serious deficiencies in the

security practices observed by county election officials” for at least a decade. (Id. at 25 ¶ 75.)

These deficiencies “are different from, and in addition to, the iVotronic system’s inherent security



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vulnerabilities.” (Id.) For example, the 2013 LAC Report found that “‘Computers connected to

networks or telephone lines . . . could potentially be used from unsecured or unauthorized access’

and poor practices regarding keys and security codes.” (Id. at 25–26 ¶ 75 (quoting 2013 LAC

Report at 14).) Plaintiffs also cite 2016 reports from the South Carolina National Guard Defensive

Cyber Operations Element, the United States Department of Homeland Security (“DHS”), 7 and

the South Carolina Department of Administration (“SCDA”), which found “widely varying levels

of physical- and cyber-security vulnerabilities.” (Id. at 26–27 ¶¶ 77–80.) The SCSEC remedied

“in hours” two of the three critical infrastructure vulnerabilities identified by the SCDA report.

(Id. at 27 ¶ 80.) Plaintiffs allege that “[t]hese security gaps and vulnerabilities reflect a deficient

approach to cybersecurity at the [SC]SEC. . . . indicat[ing], at best, a belated patching of critical-

and high-vulnerability flaws and demonstrate a history of weak cybersecurity initiatives.” (Id. at

27 ¶ 82.)

       Next, Plaintiffs assert that “[b]ecause it is not possible to prevent all malicious attacks on

an election system, states must implement safeguards that mitigate the risk of hacking by

preserving a record of voter intent, detecting potential attacks, and providing a method for

remedying errors or anomalies caused by successful attacks.” (Id. at 28 ¶ 83.) According to

Plaintiffs, the appropriate safeguards are “robust and consistent audit procedures.” (Id.) Plaintiffs

contend that in South Carolina, “effective post-election audits simply are not possible” because

there is no record of voter intent independent of the iVotronic system. (Id. at 29 ¶ 87.) The

SCSEC’s current audit system “compares various components of the iVotronic and Unity Systems

to determine whether they are internally consistent.” (Id. at 30 ¶ 89.) Thus, Plaintiffs argue the




7
  The DHS Report was a “cyber hygiene assessment of the [SC]SEC’s website and office network.”
(Id. at 27 ¶ 79.)
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current audit process would not detect any attack on the state’s voting system that impacted various

system components. (Id. ¶ 90.) According to the EVEREST Report, the iVotronic system “forms

a loop,” meaning “a hack could unfold consistently across the system’s components and thereby

elude any process designed to detect ‘anomalies.’” (Id.) Thus, if a hack occurred, “the [SC]SEC’s

audit process would simply check the hacked system against itself.” (Id.) Also, Plaintiffs allege

that the SCSEC’s audit process does not indicate any mechanism to investigate anomalies in the

system. (Id. at 31 ¶ 91.) Additionally, the 2013 LAC Report found that “in many instances, local

election officials believe they lack adequate time to conduct the [SC]SEC’s prescribed audit

procedures between election day and the statutory deadline to certify results.” (Id.)

        Finally, Plaintiffs contend that the prospect of attacks on our nation’s election systems is

“immediate and acute.” (Id. at 31 ¶ 94.) Plaintiffs assert that “[f]ederal and state election officials

broadly recognize that foreign actors attempted to interfere with the 2016 national elections and

that they have the capability and intent to do so again in future elections.” (Id. at 32 ¶ 95.) As

evidence of this “immediate and acute” threat of attacks on our nation’s election system, Plaintiffs

point to the indictment of thirteen Russian nationals and three Russian entities in a federal district

court in Washington, D.C., for interfering with the United States’ political system. (Id. ¶ 96.)

Plaintiffs note that “Russia’s well-documented interference has included cyberattacks directed at

the nation’s election infrastructure.” (Id. ¶ 97.)

        Plaintiffs also cite reports by the Federal Bureau of Investigation (“FBI”) and DHS on

interference in America’s elections. In August 2016, the FBI issued an alert entitled “Targeting

Activity Against State Board of Election Systems,” which reported that “[i]n late June 2016, an




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unknown actor scanned a state’s Board of Election website for vulnerabilities.” 8 (Id. at 33 ¶ 98

(quoting 2016 FBI Alert).) The 2016 FBI Alert advised all states to “take several specific

technical steps to guard against similar cyberattacks.” (Id.) In a September 2016 press release, 9

DHS reported detecting “efforts at cyber intrusions of voter registration data maintained in state

election systems.” (Id. ¶ 99 (quoting DHS Press Release).) In February 2018, DHS further

reported “that hackers working for Russia ‘tested the systems in most states. In some they tried

to infiltrate the system and failed, but in Illinois the systems were successfully breached.’” 10 (Id.

at 35 ¶ 103 (quoting Graham, How Russia Could Meddle in the US Mid-Term Elections).)

Plaintiffs also cite reports by the United States House of Representatives and Senate, which

concluded, among other things, that (1) “state and local election infrastructure . . . are not

developed to defend against state-sponsored cyber threats. . . . [And] state and local election

authorities should consider building in additional redundancies to ensure an audit trail in the event

of a compromise of the electronic voting systems,” 11 (Id. at 35–36 ¶ 104 (quoting HPSCI, Report

on Russian Active Measures at 123)); and (2) “[a]t least 18 states had election systems targeted




8
   Federal Bureau of Investigation, Cyber Division, Targeting Against State Board of Election
Systems (Aug. 18, 2016), https://publicintelligence.net/fbi-election-hacking/ [hereinafter “2016
FBI Alert”].
9
  Statement by Secretary Johnson Concerning the Cybersecurity of the Nation’s Election Systems,
News        Archive,       Department      of      Homeland          Security     (Sep.      16,
2016), https://www.dhs.gov/news/2016/09/16/statement-secretary-johnson-concerning-
cybersecurity-nation%E2%80%99s-election-systems [hereinafter “DHS Press Release”].
10
    Chris Graham, How Russia Could Meddle in the US Mid-Term Elections - And Why It's Too
Late to Secure Them Now, The Telegraph (Feb.14, 2018), https://www.telegraph.co.uk/news/201
8/02/14/russia-could-meddle-us-mid-term-elections-late-secure-now/ [hereinafter “Graham, How
Russia Could Meddle in the US Mid-Term Elections”].
11
    House Permanent Select Committee on Intelligence, Report on Russian Active Measures
(March 22, 2018), http://fm.cnbc.com/applications/cnbc.com/resources/styles/skin/special-
reports/pdfs/russian-active-measures.pdf [hereinafter “HPSCI, Report on Russian Active
Measures”].


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by Russian-affiliated cyber actors in some fashion.” 12 (Id. at 36 ¶ 105 (quoting SSCI, Russian

Targeting of Election Infrastructure During the 2016 Election).) The Senate report also found

that “[p]aperless [DRE] voting machines . . . are at highest risk for security flaws.” (Id. at 38 ¶

109 (quoting SSCI, Russian Targeting of Election Infrastructure During the 2016 Election).)

        As to Plaintiffs’ claims, Plaintiffs contend that “[w]hile the Constitution does not require a

state to guarantee perfect accuracy or impregnable safeguards in its election systems, [the

Constitution] does require a level of reliability that votes will be accurately counted, and that voters

will not face arbitrary and disparate treatment.” (Id. at 43 ¶ 124.) Plaintiffs assert that “Defendants

have violated Plaintiffs’ fundamental right to vote in violation of the Fourteenth Amendment by

failing to approve and adopt a voting system that meets reasonable security standards.” (Id. at 42

¶ 121.) Plaintiffs also contend “[t]he [SC]SEC has provided and maintained a voting system that

places a severe burden on Plaintiffs’ right to vote. The state’s voting system, organized around

the iVotronic system, is so intensely vulnerable as to violate Plaintiffs’ due process right to have

their votes effectively recorded and counted.” (Id. ¶ 122.) Finally, Plaintiffs claim that in violation

of the Equal Protection Clause of the Fourteenth Amendment, Defendants have “subjected each

Plaintiff’s vote to arbitrary treatment as the system does not ensure that all machines, precincts,

and counties will record and tabulate votes equally and reliably.” (Id. at 42–43 ¶ 123.)

        Based on these allegations, Plaintiffs request that the court (1) “[a]ssume jurisdiction over

this action”; (2) “[d]eclare that . . .Defendants’ failure to provide an elections system that has basic

safeguards to ensure that the Plaintiffs’ votes are reliably and accurately counted violates




12
  Senate Select Committee on Intelligence, Russian Targeting of Election Infrastructure During
the 2016 Election: Summary of Initial Findings and Recommendations (May 8, 2018), https://ww
w.burr.senate.gov/imo/media/doc/RussRptInstlmt1-%20ElecSec%20Findings,Recs2.pdf
[hereinafter “SSCI, Russian Targeting of Election Infrastructure During the 2016 Election”].
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Plaintiffs’ fundamental right to vote as protected by the 14th Amendment to the U.S. Constitution”;

(3) “[e]njoin Defendants from maintaining an election system that fails to reliably record and

tabulate votes”; (4) “[i]mpose injunctive relief requiring Defendants to ensure that Plaintiffs have

access to a voting system that will reliably and accurately record their votes”; and (5) “[a]ward the

Plaintiffs reasonable attorneys’ fees and costs pursuant to 42 U.S.C. § 1988.” (Id. at 44.)

       On July 30, 2018, Defendants moved to dismiss Plaintiffs’ Complaint under Federal Rules

of Civil Procedure 12(b)(1) and 12(b)(6). (ECF No. 5 at 1.) Defendants argue Plaintiffs do not

have standing to bring this action because their alleged injury (1) is not “concrete and

particularized” and “actual or imminent” and (2) is not traceable to Defendants’ conduct. (ECF

No. 5-1 at 7–9, 10–12.) On August 28, 2018, Plaintiffs filed a Memorandum in Opposition to

Defendants’ Motion for Summary Judgment and Motion to Dismiss. (ECF No. 14.) On August

30, 2018, Defendants filed a Reply to Plaintiffs’ Opposition to Motion to Dismiss. (ECF No. 15.)

On January 4, 2019, Defendants filed a Supplemental Memorandum in Support of Defendants’

Motion for Summary Judgment and Motion to Dismiss. (ECF No. 43.) In this Supplemental

Memorandum, Defendants argue that Plaintiffs’ claims are moot as a result of a RFP 13 issued by

the SCSEC on December 7, 2018. (Id. at 1–2.) Defendants argue

       the [c]ourt should dismiss this case because Plaintiffs lack standing. Defendants
       have issued an RFP for a new voting system, one with a paper record of each voter’s
       selections, that effectively moots the case. Moreover, Plaintiffs lack standing to
       bring the suit because a favorable decision would not redress Plaintiffs’ alleged
       injury. The [SCSEC] is currently bound by a web of statutes and regulations that
       dictate how a new voting system is to be procured and implemented. Indeed, as is
       evidenced by the recently issued RFP, this process is ongoing and will be completed
       before the upcoming 2020 primaries. Stated plainly, the [c]ourt does not need to
       issue an order compelling the [SCSEC] to obtain new voting machines—the
       process is well under way.


13
    South Carolina State Election Commission, Request for Proposal (Dec. 7, 2018),
http://webprod.cio.sc.gov/SCSolicitationWeb/contractSearch.do?solicitnumber=5400016872
[hereinafter “RFP”].
                                                 11
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(Id. at 15.) On January 11, 2019, Plaintiffs filed a Memorandum in Response to Defendants’

Supplemental Memorandum. (ECF No. 45.) On January 15, 2019, the court held a hearing on

Defendants’ Motion to Dismiss. (ECF No. 48.)

                                     II. LEGAL STANDARD

       Under Article III, Section 2 of the United States Constitution, the jurisdiction of the federal

courts is limited to “[c]ases” and “[c]ontroversies.” In Simon v. E. Ky. Welfare Rights Org., the

United States Supreme Court stressed that, “No principle is more fundamental to the judiciary’s

proper role in our system of government than the constitutional limitation of federal-court

jurisdiction to actual cases or controversies.” 426 U.S. 26, 37 (1976). The doctrine of standing

curtails the disputes before the court in accordance with this limitation. See Susan B. Anthony List

v. Driehaus, 573 U.S. 149, 157 (2014) (“The doctrine of standing gives meaning to these

constitutional limits by ‘identify[ing] those disputes which are appropriately resolved through the

judicial process.’” (alteration in original) (quoting Lujan v. Defs. of Wildlife, 504 U.S. 555, 560

(1992))). Standing implicates the court’s subject-matter jurisdiction and may be challenged in a

motion to dismiss under Rule 12(b)(1) of the Federal Rules of Civil Procedure. See Wikimedia

Found. v. Nat’l Sec. Agency, 857 F.3d 193, 208 (4th Cir. 2017); Beyond Sys., Inc. v. Kraft Foods,

Inc., 777 F.3d 712, 715 (4th Cir. 2015).

    “The party attempting to invoke federal jurisdiction bears the burden of establishing standing.”

Miller v. Brown, 462 F.3d 312, 316 (4th Cir. 2006). “For purposes of ruling on a motion to dismiss

for want of standing, both the trial and reviewing courts must accept as true all material allegations

of the complaint, and must construe the complaint in favor of the complaining party.” Warth v.

Seldin, 422 U.S. 490, 501 (1975). “At the pleading stage, general factual allegations of injury

resulting from the defendant’s conduct may suffice, for on a motion to dismiss we ‘presum[e] that

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general allegations embrace those specific facts that are necessary to support the claim.’” Lujan,

504 U.S. at 561 (quoting Lujan v. Nat’l Wildlife Fed’n, 497 U.S. 871, 889 (1990)). “Nevertheless,

the party invoking the jurisdiction of the court must include the necessary factual allegations in

the pleading, or else the case must be dismissed for lack of standing.” Bishop v. Bartlett, 575 F.3d

419, 424 (4th Cir. 2009). “When a defendant raises standing as the basis for a motion under Rule

12(b)(1) to dismiss for lack of subject matter jurisdiction, . . . the district court ‘may consider

evidence outside the pleadings without converting the proceeding to one for summary judgment.’”

White Tail Park, Inc. v. Stroube, 413 F.3d 451, 459 (4th Cir. 2005) (quoting Richmond,

Fredericksburg & Potomac R.R. Co. v. United States, 945 F.2d 765, 768 (4th Cir. 1991)).

                                          III. ANALYSIS

        At the outset, the court recognizes that the right at issue in this case—the right to vote and

have that vote counted—is “a fundamental matter in a free and democratic society.” Reynolds v.

Sims, 377 U.S. 533, 561–62 (1964). See also id. at 554 (“It has been repeatedly recognized that

all qualified voters have a constitutionally protected right to vote and to have their votes counted.”).

“[V]oters who allege facts showing disadvantage to themselves as individuals have standing to

sue.” Baker v. Carr, 369 U.S. 186, 206 (1962) (emphasis added).

        “To establish Article III standing, an injury must be ‘concrete, particularized, and actual

or imminent; fairly traceable to the challenged action; and redressable by a favorable ruling.’”

Clapper v. Amnesty Int’l USA, 568 U.S. 398, 409 (2013) (quoting Monsanto Co. v. Geertson Seed

Farms, 561 U.S. 139, 149 (2010)). To be particularized, an injury “must affect the plaintiff in a

personal and individual way.” Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1548 (2016) (quoting

Lujan, 504 U.S. at 560 n.1). “There must be some connection between the plaintiff and the

defendant that ‘[ ]differentiate[s]’ the plaintiff so that his injury is not ‘common to all members of



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the public.’” Griffin v. Dep’t of Labor Fed. Credit Union, 912 F.3d 649, 655 (4th Cir. 2019)

(quoting United States v. Richardson, 418 U.S. 166, 177 (1974)). “The fact that an injury may be

suffered by a large number of people does not of itself make that injury a nonjusticiable generalized

grievance,” as long as “each individual suffers a particularized harm.” Spokeo, Inc., 136 S. Ct. at

1548 n.7.

       In their response to Defendants’ Motion to Dismiss, Plaintiffs state that their “standing to

pursue the claims in this litigation is rooted in the injury they suffer by virtue of having to cast

their ballots using the highly vulnerable, deeply deficient voting system Defendants certified and

maintain in South Carolina.” (ECF No. 14 at 18.) Generally, Plaintiffs contend the iVotronic

machines are unconstitutionally vulnerable to (1) hacking and (2) failure. (ECF No. 14 at 17.)

More specifically, Plaintiffs allege they are injured by (1) Defendants’ “fail[ure] to approve and

adopt a voting system that meets reasonable security standards”; (2) Defendants’ “maint[enance]

[of] a voting system [so intensely vulnerable] that [it] places a severe burden on Plaintiffs’ right to

vote”; and (3) Defendants “subject[ing] each Plaintiff’s vote to arbitrary treatment as the system

does not ensure that all machines, precincts, and counties will record and tabulate votes equally

and reliably.” (ECF No. 1 at 42–43 ¶¶ 121–23.)

       Recently, in Clapper v. Amnesty International USA, the United States Supreme Court

reviewed the requirements of Article III standing in the context of threatened injury or substantial

risk of harm. 568 U.S. 398, 409 (2013). The Clapper Court reiterated that for a threatened injury

to constitute an “injury in fact,” it “must be certainly impending.” 14 Clapper, 568 U.S. at 410



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  The Clapper decision indicates that plaintiffs can prove an injury-in-fact by proving either that
the threatened injury is “certainly impending,” or that there is a “substantial risk of harm”: “[T]o
the extent that the ‘substantial risk’ standard is relevant and is distinct from the ‘clearly impending’
requirement, respondents fall short of even that standard, in light of the attenuated chain of


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(emphasis added) (quoting Whitmore v. Arkansas, 495 U.S. 149, 158 (1990)). The Supreme Court

further explained that,




inferences necessary to find harm here.” Clapper, 568 U.S. at 414 n.5. A year after Clapper, in
Susan B. Anthony List v. Driehaus, a pre-enforcement challenge to an Ohio statute, the Supreme
Court again stated that an injury-in-fact can be shown when there is a substantial risk of harm. 573
U.S. 149, 158 (2014) (“An allegation of future injury may suffice if the threatened injury is
‘certainly impending,’ or there is a ‘“substantial risk” that the harm will occur.’” (quoting Clapper,
568 U.S. at 414 n.5)). Thus, the Supreme Court’s decisions in Clapper and Susan B. Anthony
indicate that plaintiffs can allege a future injury by showing either a substantial risk of harm or
that the threatened injury is certainly impending. The United States Court of Appeals for the
Fourth Circuit appears to have found the same. In Beck v. McDonald, which is post-Clapper and
Susan B. Anthony, the Fourth Circuit analyzed a claim of increased risk of future identity theft
under both the certainly impending and substantial risk of harm standards. See 848 F.3d 626, 275
(4th Cir. 2017) (“Nonetheless, our inquiry on standing is not at an end, for we may also find
standing based on a ‘substantial risk’ that the harm will occur, which in turn may prompt a party
to reasonably incur costs to mitigate or avoid that harm.” (citing Clapper, 568 U.S. at 414 n.5)).
        Significantly, neither Clapper, Susan B. Anthony, nor Beck define the difference between
the two standards, making it difficult to say with particularity what a plaintiff must show to prove
a substantial risk of harm. However, Clapper does state that “we have found standing based on a
‘substantial risk’ that the harm will occur, which may prompt plaintiffs to reasonably incur costs
to mitigate or avoid that harm.” 568 U.S. at 414 n.5 (emphasis added). But, the Clapper Court
offers no clues as to the force of the “reasonably to incur costs to mitigate or avoid that harm”
language, and the Court did not repeat this language in Susan B. Anthony. See Susan B. Anthony,
573 U.S. at 158 (“‘An allegation of future injury may suffice if the threatened injury is ‘certainly
impending,’ or there is a ‘“substantial risk” that the harm will occur.’” (quoting Clapper, 568 U.S.
at 414 n.5)). In Beck, the Fourth Circuit also uses the “reasonably to incur costs to mitigate or
avoid that harm” language: “[W]e may also find standing based on a ‘substantial risk’ that the
harm will occur, which in turn may prompt a party to reasonably incur costs to mitigate or avoid
that harm.” 848 F.3d at 275 (citing Clapper, 568 U.S. at 414 n.5 (emphasis added)). See also
Organic Seed Growers & Trade Ass’n v. Monsanto Co., 718 F.3d 1350, 1355 (Fed. Cir. 2013)
(“Thus, the question in this case is not whether the appellants’ subjective fear of suit by Monsanto
is genuine, but whether they have demonstrated a ‘“substantial risk” that the harm will occur,
which may prompt [them] to reasonably incur costs to mitigate or avoid that harm.’” (quoting
Clapper, 568 U.S. at 414 n.5)). The Fourth Circuit also did not comment on the force of this
language in Beck. Neither the Supreme Court nor the Fourth Circuit have indicated that the
“reasonably to incur costs to mitigate or avoid that harm” language is dispositive or carries more
weight in the substantial risk of harm inquiry. See Susan B. Anthony, 573 U.S. at 158; Clapper,
568 U.S. at 414 n.5; Beck, 848 F.3d at 275. C.f. Organic Seed Growers, 718 F.3d at 1355.
Therefore, in determining whether Plaintiffs have shown a substantial risk of harm, this court will
consider whether the risk is such that it would “prompt plaintiffs to reasonably incur costs to
mitigate or avoid that harm” just like any other considerations deemed relevant by caselaw. Beck,
848 F.3d at 275 (citing Clapper, 568 U.S. at 414 n.5).
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       “Although imminence is concededly a somewhat elastic concept, it cannot be
       stretched beyond its purpose, which is to ensure that the alleged injury is not too
       speculative for Article III purposes—that the injury is certainly impending.”
       [Monsanto Co., 561 U.S.] at 565, n. 2 . . . . Thus, we have repeatedly reiterated that
       “threatened injury must be certainly impending to constitute injury in fact,” and
       that “[a]llegations of possible future injury” are not sufficient. Whitmore, 495 U.S.,
       at 158 . . . (emphasis added . . .).”

Clapper, 568 U.S. at 409.

       Initially, accepting as true the allegations in Plaintiffs’ Complaint, the court finds Plaintiffs

have shown that elections in America have been interfered with, the threat that American elections

will be interfered with remains, and that the iVotronic voting machines in use in South Carolina

are vulnerable to hacking. (See ECF No. 1 at 13 ¶ 40 (quoting EVEREST Report at 29), 16 ¶ 50

(citing EVEREST Report at 57), 30 ¶ 90, 31–35.) However, Plaintiffs fail to show that the alleged

threatened injury—the possibility their vote will not be accurately counted due to a hack of South

Carolina’s voting machines is certainly impending.

       First, it is speculative whether potential hackers will imminently target elections in South

Carolina. Cf. Clapper, 568 U.S. at 411 (“First, it is speculative whether the Government will

imminently target communications to which respondents are parties.”). Plaintiffs’ standing theory

is substantially undermined by the fact that they do not allege that South Carolina’s election system

has ever been hacked or that any attempts have ever been made to hack it. See id. at 411

(“Accordingly, it is no surprise that respondents fail to offer any evidence that their

communications have been monitored under § 1881a, a failure that substantially undermines their

standing theory.”). Cf. Curling v. Kemp, 334 F. Supp. 3d 1303, 1314 (N.D. Ga. 2018) (“[The

d]efendants argue that [the p]laintiffs’ allegations that the DRE voting machines are vulnerable to

hacking and are ‘presumed to be compromised’ convey only a speculative, generalized fear, thus

falling short of establishing a concrete injury. These arguments are unavailing. For one, [the

p]laintiffs have alleged that the DRE voting system was actually accessed or hacked multiple times
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already – albeit by cybersecurity experts who reported the system’s vulnerabilities to state

authorities, as opposed to someone with nefarious purposes.”) Furthermore, while the reports cited

by Plaintiffs undeniably answer whether or not the iVotronic system can be hacked, they do not

answer whether South Carolina’s iVotronic system will be hacked. (See ECF No. 1 at 13 ¶ 40

(quoting EVEREST Report at 29), 16 ¶ 50 (citing EVEREST Report at 57), 30 ¶ 90, 31–35.) For

example, the Senate Report cited by Plaintiffs found that the election systems of eighteen states

had been targeted by Russian-affiliated cyber actors. (ECF No. 1 at 36 ¶ 105 (quoting SSCI,

Russian Targeting of Election Infrastructure During the 2016 Election).) However, Plaintiffs do

not allege that South Carolina was among these states. (See id.) Cf. Clapper, 568 U.S. at 412

(“Respondents, however, have set forth no specific facts demonstrating that the communications

of their foreign contacts will be targeted.” (emphasis added)).

       On this “will be” question, the court finds instructive a recent decision by the Fourth Circuit

on standing in the context of an increased risk of future identify theft. In Beck v. McDonald, 15 the

plaintiffs “sought to establish Article III standing based on the harm from the increased risk of

future identity theft and the cost of measures to protect against it.” 848 F.3d 262, 266–67 (4th Cir.

2017). The plaintiffs were “veterans who received medical treatment and healthcare” at a Veterans

Affairs’ medical center in Columbia, SC. Id. at 266. A report found that


15
  Beck involved two appeals consolidated by the Fourth Circuit. 848 F.3d 262, 269 n.3 (4th Cir.
2017). While the Beck plaintiffs’ identity theft case was pending,

       Beverly Watson[, also a named plaintiff in Beck,] brought a putative class-action
       lawsuit on behalf of the over 2,000 individuals whose pathology reports had gone
       missing. Watson sought money damages and declaratory and injunctive relief,
       alleging the same harm as did the Beck plaintiffs. The [d]efendants moved to
       dismiss the complaint for lack of subject-matter jurisdiction and for failure to state
       a claim.

Id. at 268. The district court found that the plaintiffs lacked standing in both cases, which all
plaintiffs appealed. Id. at 269.
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        on February 11, 2013, a laptop connected to a pulmonary function testing device
        with a Velcro strip was misplaced or stolen from [the medical center]’s Respiratory
        Therapy department. The laptop contains unencrypted personal information of
        approximately 7,400 patients, including names, birth dates, the last four digits of
        social security numbers, and physical descriptors (age, race, gender, height, and
        weight).

Id. at 267. The Beck plaintiffs

        filed suit on behalf of a putative class of the approximately 7,400 patients whose
        information was stored on the missing laptop. Relevant to this appeal, the Beck
        plaintiffs sought declaratory relief and monetary damages under the Privacy Act,
        alleging that the “Defendants’ failures” and “violations” of the Privacy Act “caused
        Plaintiffs . . . embarrassment, inconvenience, unfairness, mental distress, and the
        threat of current and future substantial harm from identity theft and other misuse of
        their Personal Information.” J.A. 12. They further allege that the “threat of identity
        theft” required them to frequently monitor their “credit reports, bank statements,
        health insurance reports, and other similar information, purchas[e] credit watch
        services, and [shift] financial accounts.” J.A. 12.

Id.

        The Fourth Circuit held that “the [p]laintiffs’ theory [wa]s too speculative to constitute an

injury-in-fact.” Id. at 274. 16 First, the court highlighted that the Beck plaintiffs did not allege “the

data thief intentionally targeted the personal information compromised in the data breaches” or

“misuse . . . of that personal information by the thief.” Id. The court found the failure to make

such claims, “render[ed] their contention of an enhanced risk of future identity theft too

speculative.” Id. Additionally, the court stated that “‘as the breaches fade further into the past,’”

the Beck [p]laintiffs’ threatened injuries become more and more speculative.” Id. at 275 (quoting

Chambliss v. Carefirst, Inc., 189 F. Supp. 3d 564, 570 (D. Md. 2016)). Finally, the court concluded


16
   The court held the same for the Watson appeal. See id. at 275 (“Plaintiffs[’] . . . claims . . . . of
an enhanced risk of future identity theft [are] too speculative. On this point, the data breaches in
Beck and Watson occurred in February 2013 and July 2014, respectively. Yet, even after extensive
discovery, the Beck plaintiffs have uncovered no evidence that the information contained on the
stolen laptop has been accessed or misused or that they have suffered identity theft, nor, for that
matter, that the thief stole the laptop with the intent to steal their private information. Watson’s
complaint suffers from the same deficiency with regard to the four missing boxes of pathology
reports.” (footnote omitted)).
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that “the mere theft [of the laptop and pathology reports], without more, cannot confer Article III

standing.” Id.

       Similarly, in this case, Plaintiffs allege Defendants’ failures have caused Plaintiffs the

threat of future injury from the hacking or malfunction of South Carolina’s iVotronic voting

machines. (ECF No. 1 at 42–43 ¶¶ 121–23, 44.) Compare Beck, 848 F. 3d at 267 (“[T]he Beck

plaintiffs sought declaratory relief . . . alleging that the ‘Defendants’ failures’ and ‘violations’ of

the Privacy Act ‘caused Plaintiffs . . . embarrassment, inconvenience, unfairness, mental distress,

and the threat of current and future substantial harm from identity theft and other misuse of their

Personal Information.’ J.A. 12.”) with (ECF No. 1 at 44 “Plaintiffs respectfully request that the

[c]ourt . . . [d]eclare Defendants’ failure to provide an elections system that has basic safeguards

to ensure that the Plaintiffs’ votes are reliably and accurately counted violates Plaintiffs’

fundamental right to vote as protected by the 14th Amendment to the U.S. Constitution.”).)

According to the reports cited by Plaintiffs, the iVotronic voting machines maintained by the

SCSEC have virtually always been vulnerable to hacking; the iVotronic machines were

implemented in 2006, and the EVEREST Report on which Plaintiffs heavily rely was published in

2007. (ECF No. 1 at 8 ¶ 23, 12–13 ¶¶ 38–39, 19 ¶ 57.) But, like the Beck plaintiffs, Plaintiffs do

not allege South Carolina’s elections, or Plaintiffs’ votes, are being targeted by potential hackers,

have ever been targeted by potential hackers, or that there has ever been a hack, or an attempted

hack, of South Carolina’s election system. See Beck, 848 F.3d at 273–75; (ECF No. 1 at 1–3 ¶¶

1–7). However, Plaintiffs also assert that “[t]he security risks inherent in the iVotronic system are

made even more acute by the current threat environment,” and “the [SC]SEC itself has

acknowledged that events leading up to the 2016 election, including the breaches of other states’

voter registration systems, ‘created an election-security environment that was very different’ than



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it has been in the past.” (ECF No. 14 at 15.) Still, even since 2016, Plaintiffs do not allege there

has been a hack or attempted hack of South Carolina’s election system or voter registration system.

Certainly, “[o]ne does not have to await the consummation of threatened injury to obtain

preventive relief.” Pennsylvania v. West Virginia, 262 U.S. 553, 593 (1923). But, neither can

litigants claim a certainly impending injury for an indefinite amount of time. See Doe v. Obama,

631 F.3d 157, 163 (4th Cir. 2011) (“The imminence requirement is ‘stretched beyond the breaking

point when, as here, the plaintiff alleges only an injury at some indefinite future time.’” (quoting

Lujan, 504 U.S. at 565 n.2)). And as the “events leading up to the 2016 election,” (ECF No. 14 at

15), “‘fade further into the past[,]’ . . . Plaintiffs’ threatened injuries become more and more

speculative.” Beck, 848 F.3d at 275 (quoting Chambliss, 189 F. Supp. 3d at 570).

       Additionally, like in Clapper, Plaintiffs’ hacking theory of injury “relies on a highly

attenuated chain of possibilities.” Clapper, 568 U.S. at 410 (“[R]espondents’ theory of standing,

which relies on a highly attenuated chain of possibilities, does not satisfy the requirement that

threatened injury must be certainly impending.”). First, it is speculative whether hypothetical

hackers—unidentified by Plaintiffs 17—will imminently target Plaintiffs’ votes cast in South

Carolina elections, as Plaintiffs make no allegations that their votes have been targeted by potential

hackers or will be so targeted. See id. at 410–11 (“First, it is speculative whether the Government

will imminently target communications to which respondents are parties. Accordingly, it is no

surprise that respondents fail to offer any evidence that their communications have been monitored

under § 1881a, a failure that substantially undermines their standing theory.” (citation omitted)

(emphasis added)); Stein v. Cortes, 223 F. Supp. 3d 423, 432 (E.D. Pa. 2016) (“Although Mr. Reitz



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  Plaintiffs’ failure to identify who these hypothetical hackers are makes their future injury even
more speculative. Cf. Clapper, 568 U.S. at 411 (“First, it is speculative whether the Government
will imminently target communications to which respondents are parties.” (emphasis added)).
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is a Pennsylvania voter, he has not alleged that his vote was inaccurately recorded or tallied in the

final Pennsylvania vote count.”); Stewart v. Blackwell, 444 F.3d 843, 870–71 (6th Cir. 2006),

vacated and superseded by, 473 F.3d 692 (6th Cir. 2007) 18 (“Although voters approach the polls

with the opportunity to vote in the same elections for the same candidates, once they step into the

voting booth, they have an unequal chance of their vote being counted, not as a result of any action

on the part of the voter, but because of the different technology utilized. . . . voters using the two

challenged technologies have an additional likelihood of disenfranchisement due to the inherent

deficiencies of the punch-card and central-count optical scan.” (emphasis added)); Black v.

McGuffage, 209 F. Supp. 2d 889, 895 (N.D. Ill. 2002) (“The ‘probabilistic’ injury is particularly

high for those named [p]laintiffs whose election precincts had particularly high residual vote

rates.”); id. at 899 (“That people in different counties have significantly different probabilities of

having their votes counted, solely because of the nature of the system used in their jurisdiction is

the heart of the problem.”); Schulz v. Kellner, No. 1:07-CV-0943 LEK/DRH, 2011 WL 2669456,

at *7 (N.D.N.Y. July 7, 2011) (“Moreover, even construing their Amended Complaint to mean

that the machine error and human fraud resulting from [the d]efendants’ voting procedures will

also harm [the p]laintiffs—whose votes will allegedly not be counted accurately—the [c]ourt finds

that these allegations are merely conjectural and hypothetical and do not demonstrate a concrete

or particularized injury to [the p]laintiffs. [The p]laintiffs have not presented any concrete or

specific factual allegations from which the [c]ourt could infer, for instance, that their votes were

diluted, that they are being disfavored by a gerrymandering scheme, or that they were unfairly

denied access to a polling station.”).



18
  The opinion was vacated at the request of the parties because the case was rendered moot by the
county’s abandonment of the DRE machines at issue. Stewart v. Blackwell, 473 F.3d 692, 693
(6th Cir. 2007).
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       Instead, Plaintiffs “merely speculate and make assumptions about whether their” votes will

be inaccurately counted as the result of a potential hack. Clapper, 568 U.S. at 411. See also Stein,

223 F. Supp. at 432 (“[The p]laintiffs’ allegation that voting machines may be ‘hackable,’ and the

seemingly rhetorical question they pose respecting the accuracy of the vote count, simply do not

constitute injury-in-fact.”). Plaintiffs assert that they “believe[] the state’s voting system, and in

particular its use of iVotronic machines, is deeply unreliable and fundamentally unverifiable” and

that they “believe[] that these unaddressed flaws impact [their] right to have [their] vote counted

accurately.” (ECF No. 1 at 5–6 ¶ 12 (emphasis added).) (See also id. at 6 ¶ 13 (“[Plaintiff] Leventis

has long-standing concerns about the accountability, auditability, and transparency of the

iVotronic-based system. He reasonably believes that the flaws in South Carolina’s voting system

burden his right to have his vote counted fairly and accurately.” (emphasis added)).) The Supreme

Court found similar allegations unavailing in Clapper. See 568 U.S. at 411 (“[Respondents merely

speculate and make assumptions about whether their communications with their foreign contacts

will be acquired under § 1881a. . . . For example, journalist Christopher Hedges states: ‘I have no

choice but to assume that any of my international communications may be subject to government

surveillance, and I have to make decisions . . . in light of that assumption.’ App. to Pet. for Cert.

366a (emphasis added and deleted). Similarly, attorney Scott McKay asserts that, ‘[b]ecause of

the [FISA Amendments Act], we now have to assume that every one of our international

communications may be monitored by the government.’ Id., at 375a (emphasis added).” (citation

omitted)).

       Furthermore, Plaintiffs allegations center on the “vulnerab[ilities] [of the iVotronic voting

machines] to cyberattack[s].” (ECF No. 1 at 2 ¶ 2 (emphasis added).) However, the vulnerabilities

of the iVotronic machines to being hacked, in and of themselves, would not cause Plaintiffs’ votes



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to be inaccurately accounted; someone would still have to hack the machines to alter Plaintiffs’

votes. (See, e.g., ECF No. 14 at 17 (“As described at length in the Complaint, the[] [iVotronic]

machines have been shown to contain numerous vulnerabilities that could be exploited by

hackers . . . .” (emphasis added)).) And Plaintiffs can only speculate as to whether “potential

hackers,” (ECF No. 1 at 2 ¶ 3 (emphasis added)), will exploit the vulnerabilities of the iVotronic

voting machines, 19 making their allegations “necessarily conjectural.” Clapper, 568 U.S. at 412.

See also id. (“Moreover, because § 1881a at most authorizes—but does not mandate or direct—

the surveillance that respondents fear, respondents’ allegations are necessarily conjectural. Simply

put, respondents can only speculate as to how the Attorney General and the Director of National

Intelligence will exercise their discretion in determining which communications to target.”); id. at




19
    Although the Senate Report cited by Plaintiffs does state that “Paperless [DRE] voting machines
. . . are at highest risk for security flaws,” (ECF No. 1 at 38 ¶ 109 (quoting SSCI, Russian Targeting
of Election Infrastructure During the 2016 Election)), it also indicates that electronic voting
machines were not the target of the Russian affiliated cyber-actors. (Id. at 36 ¶ 105 (quoting SSCI,
Russian Targeting of Election Infrastructure During the 2016 Election).) Rather,

       almost all of the states that were targeted observed vulnerability scanning directed
       at their Secretary of State websites or voter registration infrastructure. . . . In at least
       six states, Russian-affiliated cyber actors went beyond scanning and conducted
       malicious access attempts on voting-related websites. In a small number of states,
       Russian-affiliated cyber actors were able to gain access to restricted elements of
       election infrastructure. In a small number of states, these cyber actors were in a
       position to, at a minimum, alter or delete voter registration data; however, they did
       not appear to be in a position to manipulate individual votes or aggregate vote totals.

SSCI, Russian Targeting of Election Infrastructure During the 2016 Election. Thus, arguably,
Plaintiffs can also only speculate as to whether any potential hackers seeking to interfere with an
election in South Carolina would do so by hacking the iVotronic voting machines. Compare with
Clapper, 568 U.S. at 413 (“[E]ven if respondents could demonstrate that the targeting of their
foreign contacts is imminent, respondents can only speculate as to whether the Government will
seek to use § 1881a-authorized surveillance (rather than other methods) to do so.” (emphasis
added)).


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414 (“We decline to abandon our usual reluctance to endorse standing theories that rest on

speculation about the decisions of independent actors.”).

        Accordingly, as a result of the attenuated chain of inferences on which Plaintiffs’ hacking

theory of threatened injury rests, Plaintiffs have failed to show their alleged injury is “certainly

impending.” See Whitmore, 495 U.S. at 158 (“Allegations of possible future injury do not satisfy

the requirements of Art. III. A threatened injury must be ‘certainly impending’ to constitute injury

in fact.” (quoting Babbitt v. Farm Workers, 442 U.S. 289, 298 (1979))). Plaintiffs’ hacking theory

of threatened injury is also too attenuated to satisfy the substantial risk of harm standard. See

Clapper, 568 U.S. at 414 n.5 (“But to the extent that the ‘substantial risk’ standard is relevant and

is distinct from the ‘clearly impending’ requirement, respondents fall short of even that standard,

in light of the attenuated chain of inferences necessary to find harm here.” (emphasis added)). 20

See also Stein, 223 F. Supp. 3d at 432–33 (“Plaintiffs’ allegation that voting machines may be

‘hackable,’ and the seemingly rhetorical question they pose respecting the accuracy of the vote

count, simply do not constitute injury-in-fact. See, e.g., . . . (Reilly v. Ceridian Corp., 664 F.3d

38, 42 (3d Cir. 2011) (after payroll processor’s database was hacked, the plaintiffs’ allegations that

their personal information could be misused ‘rel[ied] on speculation’ and did not constitute injury-

in-fact).”).




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   “[I]n light of the attenuated chain of inferences necessary to find harm here,” Clapper, 568 U.S.
at 414 n.5, neither do the costs “absorb[ed]” by Plaintiffs to avoid or mitigate the harm they allege
support their substantial risk theory. (ECF No. 1 at 5 ¶ 12.) See Beck, 848 F.3d at 275
(“Nonetheless, our inquiry on standing is not at an end, for we may also find standing based on a
‘substantial risk’ that the harm will occur, which in turn may prompt a party to reasonably incur
costs to mitigate or avoid that harm.” (citing Clapper, 568 U.S. at 414 n.5)). See also Clapper,
568 U.S. at 416 (“[R]espondents cannot manufacture standing merely by inflicting harm on
themselves based on their fears of hypothetical future harm that is not certainly impending.”)
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        Plaintiffs also fail to show that the alleged threatened injury—the possibility their vote will

not be accurately counted due to a hack of South Carolina’s voting machines—is traceable to

Defendants. See Clapper, 568 U.S. at 409 (“To establish Article III standing, an injury must be

‘concrete, particularized, and actual or imminent; fairly traceable to the challenged action; and

redressable by a favorable ruling.’” (quoting Monsanto Co., 561 U.S. at 149). As Plaintiffs do

not allege Defendants would be the “potential” hackers, the potential hackers must be “some third

party not before the court.” Lujan, 504 U.S. at 560 (quoting Simon, 426 U.S. at 41–42). (See also

ECF No. 14 at 17 (“As described at length in the Complaint, the[] [iVotronic] machines have been

shown to contain numerous vulnerabilities that could be exploited by hackers . . . .” (emphasis

added)).) Accordingly, Plaintiffs’ hacking theory of injury is not “fairly traceable to the challenged

action” of Defendants. Clapper, 568 U.S. at 409 (quoting Monsanto Co., 561 U.S at 149). See

also id. at 414 (“We decline to abandon our usual reluctance to endorse standing theories that rest

on speculation about the decisions of independent actors.”); Doe v. Va. Dep’t of State Police, 713

F.3d 745, 755 (4th Cir. 2013) (“Traceability is established if it is ‘likely that the injury was caused

by the conduct complained of and not by the independent action of some third party not before the

court.’” (quoting Friends of the Earth, Inc. v. Gaston Copper Recycling Corp., 204 F.3d 149, 154

(4th Cir. 2000))); Mirant Potomac River, LLC v. EPA, 577 F.3d 223, 226 (4th Cir. 2009) (“An

injury sufficient to meet the causation and redressability elements of the standing inquiry must

result from the actions of the respondent, not from the actions of a third party beyond the [c]ourt’s

control.”).

        The court next turns to Plaintiffs’ standing theory based on the possibility their vote will

not be accurately counted due to malfunctions of the iVotronic voting machines. (See ECF No. 14

at 23 (“By maintaining a statewide iVotronic system in South Carolina, the [SC]SEC fails to



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provide a reliable voting system because it creates a substantial risk that votes will be rendered

ineffective, either by intentional wrongdoing or predictable technological failure.” (emphasis

added)).) Here, Plaintiffs’ allegations differ from those advanced in connection with its hacking

theory because Plaintiffs allege past malfunctions of some of South Carolina’s iVotronic voting

machines. First, Plaintiffs allege that “the [iVotronic] machines in use in South Carolina have

been operating in many instances since 2004, putting them at the end of their life span. As they

age, the machines become less reliable and even more susceptible to malicious attack.” (ECF No.

1 at 22 ¶ 67.) (See also id. at 23 ¶ 69 (“Five years ago, the [2013] LAC Report recognized that

iVotronic machines have a lifespan of twelve to fifteen years, and that ‘due to [their] age,

replacement parts for this system have become problematic and will eventually become obsolete.’”

(citing 2013 LAC Report at 2)).) Plaintiffs provide several examples of past machine failures:

        (1) a 2005 election in which machines in Myrtle Beach repeatedly malfunctioned
        and caused the supply of emergency paper ballots to be “running out”; (2) a 2005
        city council primary race in Columbia which initially showed 3,208 total votes, but
        in which a manual recount revealed only 768 actual votes; and (3) a 2012 Richland
        County election in which widespread machine breakdowns caused massive delays,
        leaving voters waiting in line to vote as late as 11:30 p.m. [2013] LAC Report at
        13. And in April 2018, twelve voting machines being used in a Goose Creek
        municipal election broke down with an unresolvable error.

(Id. at 22–23 ¶ 68.) In addition to these failures, Plaintiffs allege that

        [i]n the June 2018 primary elections, voting machines malfunctioned across the
        state, causing lines at the polls and delaying election results. In Greenville County,
        33 voting machines at four precincts stopped working. As a result, lines to vote
        exceeded an hour in at least one Greenville County precinct. This mass mechanical
        failure delayed the reporting of results and required poll workers to call in an ES&S
        technician to review the machines’ backup storage devices. The ES&S employee,
        rather than South Carolina poll workers, retrieved votes from the affected machines.
        Voting machines also broke in Horry, Marlboro, and Florence Counties. Even
        when the machines did not breakdown entirely, election officials acknowledged
        that aging touchscreens made it more difficult for voters to make their selections.




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(Id. at 24–25 ¶¶ 74–75.) Plaintiffs also cite the SCSEC’s Fiscal Year 2015-16 Accountability

Report, which concludes that “[e]quipment issues and breakdowns are becoming more frequent.

As a result, carrying out our mission and reflect[ing] the will of the electorate has become

complicated and challenging.” 21 (Id. at 23 ¶ 70 (quoting SCSEC, FY 2015-16 Accountability

Report, at A-6).) The SCSEC’s 2016-2017 Accountability Report found that “the [iVotronic]

system requires intensive maintenance and enhancements,” and stated the SCSEC’s “intent to

‘continue working with the General Assembly’ to secure funding to upgrade and eventually replace

the systems.” 22 (Id. at 23–24 ¶ 71 (citing SCSEC, FY 2016-17 Accountability Report, at A-9).)

Plaintiffs note that the SEC’s FY 2016-2017 Accountability Report “did not . . . set out a concrete

timeline for [upgrading and replacing the system] or acknowledge other avenues that it could

undertake of its own to discharge its statutory responsibility, such as financing arrangements with

vendors for purchasing or leasing new equipment.” (Id. at 24 ¶ 71.) Finally, Plaintiffs also allege

that “[t]he risk that Plaintiffs’ votes will not be accurately counted is also compounded by the

absence of any manual recount or audit procedure that could detect interference with the soft-ware

provided vote count and provide a subsequent remedy.” (ECF No. 14 at 24.)

       Though Plaintiffs’ malfunction theory presents a closer standing question than their

hacking theory, Plaintiffs still fail to show a substantial risk of harm that their votes will not be

counted due to potential malfunctions by the iVotronic voting machines. First, Plaintiffs assert

they “face similar arbitrary disparities” to those in Bush v. Gore, Black v. McGuffage, and Stewart




21
   South Carolina State Election Commission, Fiscal Year 2015-16 Accountability Report (2016),
https://www.scvotes.org/files/Acct%20Report%202015-16%20Final.pdf [hereinafter SCSEC, FY
2015-16 Accountability Report].
22
    South Carolina State Election Commission, Fiscal Year 2016-2017 Accountability
Report (2017) https://www.scvotes.org/sites/default/files/Combined%20document%20-
%202017%20Acc%20Report.pdf [hereinafter SCSEC, FY 2016-17 Accountability Report].
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v. Blackwell, and cite several other cases as support for their malfunction theory. (Id. at 27.)

However, all of these cases have significantly distinguishable facts. For example, in Bush v. Gore,

the United States Supreme Court found that Florida’s manual recount policy of “consider[ing] the

‘intent of the voter’” lacked “specific standards to ensure its equal application.” 531 U.S. 98, 105–

06 (2000). The lack of such standards, the Supreme Court found, “led to unequal evaluation in

ballots . . . . [and] the standards for accepting or rejecting contested ballots might vary not only

from county to county but indeed within a single county from one recount team to another.” Id. at

106. Furthermore, in Bush, there were specific counties at issue and identifiable numbers of, for

example, overvotes. See id. at 100 (“On December 8, 2000, the Supreme Court of Florida ordered

that the Circuit Court of Leon County tabulate by hand 9,000 ballots in Miami–Dade County. It

also ordered the inclusion in the certified vote totals of 215 votes identified in Palm Beach County

and 168 votes identified in Miami–Dade County for Vice President Albert Gore, Jr., and Senator

Joseph Lieberman, Democratic candidates for President and Vice President. . . . The court further

held that relief would require manual recounts in all Florida counties where so-called ‘undervotes’

had not been subject to manual tabulation.”). Thus, not only was there unequal treatment of votes

depending on the county where a Florida voter cast their vote, there was also evidence that there

were over 100,000 overvotes. See id. at 108. As Plaintiffs do not allege different methods of

tabulating votes that advantage certain candidates and voters over others, or identify any number

of vote discrepancies, the disparities they allege differ substantially from those in Bush. 23




23
   “The Supreme Court explicitly warned that Bush, if not entirely a one-day ticket, was decided
on extraordinary facts, such that its holding ‘is limited to the present circumstances.’” Green Party
of State of N.Y. v. Weiner, 216 F. Supp. 2d 176, 192 (S.D.N.Y. 2002) (quoting Bush, 531 U.S. at
109).
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       The same is true of the other cases cited by Plaintiffs. In these cases, either the plaintiffs

voted in counties that used a less reliable voting system compared to those in use by other counties

in the state; the plaintiffs were unable to vote—literally disenfranchised; the plaintiffs had to wait

a substantial amount of time to vote; or the voting system disproportionately affected voters of

certain races or nationalities. The court quotes from these decisions at length to highlight the

factual differences between Plaintiffs’ allegations and the allegations in the cases relied on by

Plaintiffs. See, e.g., Arcia v. Fla. Sec’y of State, 772 F.3d 1335, 1341 (11th Cir. 2014) (finding the

plaintiffs had standing to sue “because they were directly injured by [the Florida Secretary of

State’s program to remove suspected non-citizens from the voter rolls within ninety days of a

federal election] when they were wrongly identified as non-citizens”); League of Women Voters

of Ohio v. Brunner, 548 F.3d 463, 466–67 (6th Cir. 2008) (finding plaintiffs had standing to

challenge the touchscreen voting machines used in Ohio when their complaint alleged, among

other things, that some registered Ohio voters were denied the right to vote and had to wait several

hours, in one case nine (9), to vote due to a polling place having only one voting machine after one

broke down); Stewart, 444 F.3d at 846, 847–48, 861 (finding African-American and Caucasian

voters residing in four Ohio counties had standing to challenge the use of punch-card ballots in the

counties where they cast their votes because other counties in Ohio utilized more reliable voting

methods and the plaintiffs submitted a report that found thousands of Ohio voters had been

disenfranchised by antiquated voting equipment); Curling, 334 F. Supp. 3d 1303, 1314–15 (N.D.

Ga. 2018) (finding the plaintiffs had standing to challenge the use of DRE voting machines when

they alleged that Georgia’s DRE voting system had been hacked multiple times and, in at least one

instance, a voter was unable to vote due to a software glitch that removed his name from the




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eligible voter rolls); 24 Mich. State A. Philip Randolph Inst. v. Johnson, 209 F. Supp. 3d 935, 944

(E.D. Mich. 2016) (finding the plaintiffs had standing and had not alleged a general grievance

applicable to every voter in the state because the plaintiffs “allege[d] that [the challenged

legislation] will disproportionately impact African-Americans in urban areas in the form of longer

wait times”); Black v. McGuffage, 209 F. Supp. 2d 889, 892, 894 (N.D. Ill. 2002) (finding plaintiffs

had standing based on their allegations that of the four available voting systems available in

Illinois, “jurisdictions that employ[ed] either punch-card voting systems or provide optical scan

without error notification experience a higher percentage of residual votes than those jurisdictions

that use optical scanning equipment with error notification (a residual vote is a ballot that does not

contain a permissible vote)”; “individuals living in punch card jurisdictions have a greater

statistical probability of not having their votes counted”; and “the counties with the punch-card

system have larger populations of minorities than do counties using other voting systems, and thus

use of those less accurate machines has a disparate impact on minority voters”); Common Cause

S. Christian Leadership Conference of Greater L.A. v. Jones, 213 F. Supp. 2d 1106, 1107–08 (C.D.

Cal. 2001) (denying the defendant’s motion for judgment on the pleadings because the plaintiffs

alleged that “punch card voting systems are less reliable than the other voting systems permitted

by the secretary of state,” “individuals living in counties where the punch-card system is used are



24
     The plaintiffs in Curling also made allegations similar to those made by Plaintiffs:

          Donna Price ‘cast her vote on a DRE in the 2016 General Election,’ and ‘[w]ithout
          the intervention of this [c]ourt, Price will be compelled to choose between
          relinquishing her right to vote and acquiescing to cast her vote under a system that
          violates her right to vote in absolute secrecy and have her vote accurately counted’.
          . . ‘DREs produce neither a paper trail nor any other means by which the records of
          votes cast can be audited.’ [Curling Complaint, Doc. 70 ¶ 16].

334 F. Supp. 3d at 1315. However, these allegations did not stand alone; they were accompanied
by allegations of actual hacking and disenfranchisement. See id. at 1314–15 (emphasis added).
                                                   30
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substantially less likely to have their votes counted,” and “the counties which choose the punch-

card system have high racial minority populations in comparison with counties using other voting

systems”).

          The court has identified some cases that better mirror Plaintiffs’ claims. In these cases, the

courts found the plaintiffs did not have standing. For example, in Stein v. Cortes, 2016 Presidential

Candidate Jill Stein and Pennsylvania voter Randall Reitz sought a recount of Pennsylvania’s votes

for President of the United States based on their claim that “[DRE] machines might be vulnerable

to hacking and cyberattacks.” 25 223 F. Supp. 3d 423, 427 (E.D. Pa. 2016). More specifically,

Plaintiffs Stein and Reitz alleged that “Pennsylvania’s DRE machines are ‘vulnerable, hackable,

[and] antiquated,’ that the Pennsylvania Election Code’s recount provisions are ‘labyrinthine,

incomprehensible, and impossibly burdensome,’ and that neither Dr. Stein nor her voters have

been permitted to examine the machines. (See Compl. ¶¶ 1–5, 63, 82, Doc. No. 1.).” Id. at 432.

The court found it “significant” that the plaintiffs did not “question whether Pennsylvania votes

were correctly counted,” and “ma[de] no factual allegations respecting Mr. Reitz other than that

he ‘is a voter in the State of Pennsylvania, and voted in the 2016 presidential election.’ ([Compl.]

¶ 10.).” Id. Ultimately, the court found “[t]hese allegations insufficient to confer standing”

because (1) Plaintiff Reitz did not allege that “his vote was inaccurately recorded or tallied in the

final Pennsylvania vote count”; (2) the plaintiffs’ “allegation that voting machines may be



25
     During the November 8, 2016 Presidential election,

          the Commonwealth allowed its citizens to cast votes on Direct Recording
          Electronic (DRE) machines, and used optical-scan machines to tabulate paper
          ballots. Fifty-four Pennsylvania Counties used one of six DRE machine models.
          Seventeen Counties used paper ballots that were then counted using optical-scan
          machines. Four Counties used both DRE and optical-scan machines.

Stein, 223 F. Supp. 3d at 427 (citation omitted).
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‘hackable,’ and the seemingly rhetorical question they pose respecting the accuracy of the vote

count, simply do not constitute injury-in-fact”; and (3) the plaintiffs sought “to protect the rights

of all Pennsylvania voters,” meaning the plaintiffs’ alleged injury was not personal to them. Id. at

432–34. The United States District Court for the Eastern District of Pennsylvania reached the

same conclusion in Landes v. Tartaglione, a similar case in which the plaintiff alleged “electronic

voting machines” were vulnerable to both hacking and technical failure. No. CIV.A. 04-3163,

2004 WL 2415074, at *3 (E.D. Pa. Oct. 28, 2004) (“[The plaintiff] alleges only a ‘conjectural or

hypothetical’ injury. She argues that voting machines are vulnerable to manipulation or technical

failure, but she does not assert that the voting machines in question have actually suffered from

these issues in the past or that they will definitively malfunction or be tampered with during the

upcoming election.”); see id. (“[The] plaintiff’s allegations here are not sufficient to demonstrate

injury in fact because they are conjectural. If plaintiff’s vote and the votes of all other voters in

the upcoming election are correctly recorded, plaintiff will suffer no injury. Plaintiff’s reliance on

the terms ‘if’ and ‘may’ to couch her allegations of harm is a clear indication that the harm she

alleges is merely speculative.”).

       Also, the United States District Court for the Northern District of New York came to the

same conclusion in Schulz v. Keller, in which the plaintiffs alleged that “the machine error and

human fraud resulting from [the d]efendants’ voting procedures” during the 2008 elections

“violated their voting rights, contract rights, and constitutional rights.” 2011 WL 2669456, at *1,

*7. First, the court noted that “[t]he Second Circuit has joined other circuits in holding that ‘a

voter fails to present an injury-in-fact when the alleged harm is abstract and widely shared.’” Id.

at *6 (quoting Crist v. Comm’n on Presidential Debates, 262 F.3d 193, 195 (2d Cir. 2001)). The

court found that because the plaintiffs’ alleged injury based on the “inevitability of machine error”



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and “human fraud” was “widely shared by all voters in the state of New York, it is an abstract one

and as such cannot constitute an injury in fact.” Id. The court further concluded that

        [E]ven construing their Amended Complaint to mean that the machine error and
        human fraud resulting from [the d]efendants’ voting procedures will also harm [the
        p]laintiffs—whose votes will allegedly not be counted accurately—the [c]ourt finds
        that these allegations are merely conjectural and hypothetical and do not
        demonstrate a concrete or particularized injury to [the p]laintiffs. [The p]laintiffs
        have not presented any concrete or specific factual allegations from which the
        [c]ourt could infer, for instance, that their votes were diluted, that they are being
        disfavored by a gerrymandering scheme, or that they were unfairly denied access
        to a polling station.

Id. at *7.

        This court acknowledges that Plaintiffs’ allegations are more extensive, and better

supported by, for example, expert reports, than the plaintiffs in Stein, 26 Landes, and Schulz. And,

Plaintiffs do allege that the iVotronic machines have malfunctioned on several occasions and are

approaching end of life. (See ECF No.1 at 22–23 ¶ 68; 24–25 ¶ 74). For example, Plaintiffs allege

that “[]n Greenville County 33 voting machines at four precincts stopped working. As a result,

lines to vote exceeded an hour in at least one Greenville County precinct.” (ECF No. 1 at 24–25

¶ 74.) Plaintiffs describe this as a “mass mechanical failure.” 27 (Id. at 25 ¶ 74.) Similarly,




26
   The Stein plaintiffs did submit the reports of four experts who found Pennsylvania’s DRE
machines were vulnerable to hacking and tampering. Stein, 223 F. Supp. 3d at 441. However, the
judge found that “[e]ven if I were to credit these opinions, they make out little more than the
theoretical possibility a voting machine somewhere in the Commonwealth might be susceptible to
tampering.” Id.
27
   There are twenty-nine (29) voting precincts in Greenville, South Carolina. South Carolina
Precinct Information Greenville County, South Carolina Election Commission,
https://www.scvotes.org/cgi-bin/scsec/precinctnew?countykey=GREENVILLE (last visited Feb.
1, 2019). See also White Tail Park, Inc., 413 F.3d at 459 (“ When a defendant raises standing as
the basis for a motion under Rule 12(b)(1) to dismiss for lack of subject matter jurisdiction, . . .
the district court ‘may consider evidence outside the pleadings without converting the proceeding
to one for summary judgment.’” (quoting Richmond, Fredericksburg & Potomac R.R. Co., 945
F.2d at 768)).

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Plaintiffs allege that “in April 2018, twelve voting machines being used in a Goose Creek

municipal election broke down with an unresolvable error.” (Id. at 23 ¶ 68.) However, allegations

such as these show only that at some precincts in some counties in South Carolina, some of the

iVotronic machines have malfunctioned, which, given the nature of machines, is to be expected.

See Nat’l Ass’n for Advancement of Colored People (NAACP) State Conference of Pa. v. Cortes,

591 F. Supp. 2d 757, 765 (E.D. Pa. 2008) (“The evidence, not surprisingly, demonstrated that DRE

voting machines, like all other machines, sometimes fail.”). 28 Cf. Stein, 223 F. Supp. 3d at 441

(stating in response to expert reports that Pennsylvania’s DRE machines were vulnerable to

hacking and tampering that “[e]ven if I were to credit these opinions, they make out little more

than the theoretical possibility a voting machine somewhere in the Commonwealth might be

susceptible to tampering.”). Plaintiffs’ allegations do not show that a majority, or even a large

number, of the iVotronic voting machines in a majority, or even a large number, of counties in

South Carolina malfunction during elections. Cf. NAACP Conference of Pa., 591 F. Supp. 2d at

765 (“Based on the record before us, we find that there is a real danger that a significant number

of machines will malfunction throughout the Commonwealth, and this occurrence is likely to cause

unacceptably long lines on November 4 . . . .” (emphasis added)). Moreover, in the 2013 LAC

Report cited by Plaintiffs, the LAC found the reported errors with the iVotronic machines were



28
   See NAACP State Conference of Pa., 591 F. Supp. 2d at 764 (“It cannot be denied that the
malfunctioning of DRE voting machines, either because of human error or mechanical failure,
causes a significant injury whenever voters are effectively denied the right to cast their ballots.
Some waiting in line, of course, is inevitable and must be expected. Citizens have to sign in at the
polling place and wait their turn to retire behind the curtain to cast their votes. One must always
choose between and among a number of candidates for different offices listed on the ballot and
often, as in this election, there are questions to be read and considered. All of this takes time.
Nonetheless, there can come a point when the burden of standing in a queue ceases to be an
inconvenience or annoyance and becomes a constitutional violation because it, in effect, denies a
person the right to exercise his or her franchise. There is no bright line or ‘litmus-paper test.’ As
Anderson[ v. Celebrezze, 460 U.S. 780 (1983)] teaches, we must consider all the relevant factors.”
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“largely categorized as human errors rather than mechanical errors,” which undermines Plaintiffs’

allegations that the iVotronic machines are so inherently error-prone that their certification by

Defendants creates a substantial risk that Plaintiffs’ votes will not be accurately counted. 2013

LAC Report at 13.

       Furthermore, numerous times throughout their pleadings, Plaintiffs assert that their alleged

injury—the possibility their vote will not be accurately counted due to the malfunctioning or

hacking of South Carolina’s iVotronic voting machines—is shared by “all South Carolina voters.”

(See e.g., ECF No. 14 at 7 (“Plaintiffs Frank Heindel and Phil Leventis are South Carolina voters

who seek to ensure that their ballots, and the ballots of all South Carolina voters, are counted fairly

and accurately. They filed this lawsuit because Defendants, in their capacities administering the

[SCSEC] have failed to provide South Carolina voters with an election system that lives up to that

basic expectation.” (emphasis added)); id. at 25 (“The flawed system also subjects Plaintiffs, and

all South Carolina voters, to a systemic risk of arbitrary disparities in the effectiveness of their

ballots.” (emphasis added)); id. at 28 (“Plaintiffs, like all South Carolina voters, have no way to

assess in advance whether their county or precinct faces a particularly elevated threat in any given

election.” (emphasis added)). Therefore, as Plaintiffs’ allegations are not personal to Plaintiffs,

and could be advanced by any South Carolina voter, Plaintiffs’ “asserted harm is a ‘generalized

grievance’ shared in substantially equal measure by all or a large class of citizens.” Warth v.

Seldin, 422 U.S. at 499. See also Spokeo, Inc., 136 S. Ct. at 1548 n.7 (“The fact that an injury may

be suffered by a large number of people does not of itself make that injury a nonjusticiable

generalized grievance [as long as] each individual suffers a particularized harm.” (emphasis

added)); Landes, 2004 WL 2415074, at *3 (finding the plaintiff’s allegations that “the use of voting

machines deprives her of her rights to vote, to have votes counted properly, to observe the voting



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process effectively and to have those rights fully enforced” and “she has been injured in past

elections and will be injured in this election because voting machines prevent her from observing

whether or not her vote has actually been cast” amounted to a generalized grievance). Cf. Black,

209 F. Supp. 2d at 894–95 (“[The d]efendants argue that [the p]laintiffs have asserted a generalized

grievance and that the statistical likelihood of future injury is insufficient to bring standing. [The

p]laintiffs allege that African American and Latino voters suffered injury when they use the

challenged voting systems because they voted in the 2000 election in precincts recording a

substantial and disproportionate number of undervotes. As the district court held in Andrews v.

Cox, No. 1:01–CV–319–ODE (N.D. Ga. Aug. 20, 2001), ‘[the] plaintiffs sufficiently allege a

personal injury. . . by the disproportionate risk of having their votes not counted.’ Slip op. at 8.

The ballot machinery used in the jurisdictions in which [the p]laintiffs vote increases the likelihood

that their votes will not be counted.”). And, “the [c]ourt has refrained from adjudicating ‘abstract

questions of wide public significance’ which amount to ‘generalized grievances,’ pervasively

shared and most appropriately addressed in the representative branches.” Valley Forge Christian

Coll. v. Ams. United for Separation of Church & State, Inc., 454 U.S. 464, 475 (1982) (quoting

Warth, 422 U.S. at 499–500).

       There is substantial space between elections administered perfectly and elections

administered in a way that unconstitutionally burdens the right to vote. This space is the domain

of the states, where “[t]he law of Article III standing, which is built on separation-of-powers

principles, serves to prevent the judicial process from being used to usurp the powers of the

political branches.” Clapper, 568 U.S. at 408. See also U.S. Const. Art. I, § 4, Cl. 1 (authorizing

the states to regulate the “Times, Places and Manner of holding elections for Senators and

Representatives”); Lassiter v. Northampton Cty. Bd. of Elections, 360 U.S. 45, 50 (1959) (“The



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States have long been held to have broad powers to determine the conditions under which the right

of suffrage may be exercised, absent of course the discrimination which the Constitution

condemns.” (citations omitted)). Plaintiffs’ allegations, though they may show that there is some

conceivable risk that Plaintiffs’ votes will be inaccurately counted, fall within this space, and are,

therefore, insufficient to confer standing. See Susan B. Anthony, 573 U.S. at 158 (“‘An allegation

of future injury may suffice if the threatened injury is ‘certainly impending,’ or there is a

‘“substantial risk” that the harm will occur.’” (quoting Clapper, 568 U.S. at 414 n.5)); Food &

Water Watch, Inc. v. Vilsack, 79 F. Supp. 3d 174, 189 (D.D.C) (“But a plaintiff who plans to satisfy

the imminent injury requirement by alleging that the challenged act will increase the risk of harm

to her, must do more than merely assert that there is some conceivable risk that she will be harmed

on account of the defendant’s actions.”).

                                       IV. CONCLUSION

       The court finds Plaintiffs’ allegations are insufficient to confer standing. Therefore, the

court (1) GRANTS Defendants’ Motion to Dismiss under Rule 12(b)(1) of the Federal Rules of

Civil Procedure (ECF No. 5 at 1); (2) DISMISSES Plaintiffs’ Complaint (ECF No. 1) without

prejudice; 29 (3) DENIES Defendants’ Motion to Dismiss under Rule 12(b)(6) of the Federal Rules

of Civil Procedure as moot (ECF No. 5 at 1); and (4) considers Defendants’ Motion for Summary

Judgment (ECF No. 5) to be withdrawn based on Defendants’ representation at the hearing on

these motions (ECF No. 49 at 13:14–18).

       IT IS SO ORDERED.




29
   “A dismissal for lack of standing—or any other defect in subject matter jurisdiction—must be
one without prejudice, because a court that lacks jurisdiction has no power to adjudicate and
dispose of a claim on the merits.” S. Walk at Broadlands Homeowner’s Ass’n, Inc. v. OpenBand
at Broadlands, LLC, 713 F.3d 175, 185 (4th Cir. 2013).
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                                               United States District Judge
February 8, 2019
Columbia, South Carolina




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